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         In re: Chinese-Manufatured Drywall Prods. Liab. Litig., MDL No. 2047
                        BNBM Group's Document Production:
                 Pages Produced Prior to and After 30(b)(6) Deposition
                       (ZHAO Yanming) Taken 7/15 - 7/17/2015

                                      04/14/15: 2,600 pages
                                      04/15/15: 618 pages
                                      04/21/15:      7 pages
                                                                                    08/08/15: 10,895 pages
                                      05/06/15: 212 pages
                                                                                    08/24/15: 200 pages
                                      05/13/15: 944 pages
40,000                                                                              08/31/15: 6,124 pages
                                      05/22/15: 6,436 pages
                                                                                    09/25/15: 4,520 pages
                                      06/04/15: 8,318 pages
                                                                                    10/19/15: 8,045 pages
                                      06/19/15: 105 pages
35,000                                06/23/15: 8,693 pages
                                                                                    29,784 Pages produced
                                      06/24/15: 10,937 pages
                                                                                    after deposition
                                      07/02/15: 352 pages
                                                                                    (43.16%)

30,000                                39,224 Pages produced
                                      prior to deposition
                                      (56.84%)

25,000



20,000



15,000



10,000


                                           30(b)(6) Deposition
 5,000                                      of ZHAO Yanming
                                           (7/15 - 7/17/2015)



    0
              Prior to 7/15/2015                                 Post 7/17/2015
